               Case 4:02-cr-40053-JPG                     Document 563 Filed 06/29/10                    Page 1 of 5              Page ID
'Il>.AO 245D                                                        #747
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 1



                                        UNITED STATES DISTRICT COURT
                                                             Southern District of Illinois                                        ~~
          UNITED STATES OF AMERICA                                          Judgment in a Criminal         C~ec~             JVAI             ~( )
                      v.                                                    (For Revocation of Probation or sUP~Bea~)('.P
            DAVID KEITH DUFFY, JR.                                                                                  ~~tv'&               <'Ol'
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                                                                            Case No. 4:02CR40053-006-JPG
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                                                                            USM No. 05875-025                                            S"   ~/1\t.)-
                                                                                                                                                  01&
                                                                              Judith A. Kuenneke, AFPD
                                                                                                 Defendant's Attorney
THE DEFENDANT:
r3/ admitted guilt to violation of condition(s)            as alleged below                  of the tenn of supervision.
o was found in violation of condition(s)                  _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                 Nature of Violation                                                             Violation Ended
Statutory                          The defendant commited the offense of Possession of                           02/14/2010

                                   ControliedSubstanq~andwithlntent t~ Deliver ....
Standard # 1                       The defendant left judicial district without permission                       02/14/2010


       The defendant is sentenced as provided in pages 2 through _.......;5~_ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
o    The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economIC CIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6395                          06/24/2010
                                                                                                Date of Imposition of Judgment




                                                                                        ~
Defendant's Year of Birth:             1976

City and State of Defendant's Residence:
New Haven, IL 62867
                                                                              J. Phil Gilbert                                District Judge
                                                                                                    Name and Title of Judge


                                                                                                     c.-IfDate
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          Sheet IA
                                                               #748
                                                                                         Judgment-Page _=2_ of    5
DEFENDANT: DAVID KEITH DUFFY, JR.
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                                                     ADDITIONAL VIOLATIONS

                                                                                                           Violation
Violation Number              Nature of Violation                                                          Concluded
Standard # 2                  The defendant failed to submit monthly reports timely                       01/30/2008



Standard # 9                  The defendant associated with a convicted felon without permission          01/19/2008



Standard # 11                 The defendant failed to notify probation of being questioned by police      01/19/2008



Special                       The defendant used alcohol while in substance abuse counseling              01/19/2008
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  AO 245D                                                            #749
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment
                                                                                                 Judgment - Page   _.;;;.3_ of    5
  DEFENDANT: DAVID KEITH DUFFY, JR.
  CASE NUMBER: 4:02CR40053-006-JPG


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
36 months (This sentence shall run consecutive to the State Court sentence that the defendant is now serving in Ford Couty,
Illinois jail).



       ~ The court makes the following recommendations to the Bureau of Prisons:
That the defendant participate in the Intensive Drug Treatment Program.




       tI The defendant is remanded to the custody of the United States Marshal.
       D The defendant shall surrender to the United States Marshal for this district:
         D at _ _ _ _ _ _ _ _ _ D a.m.                    D p.m.      on
            o     as notified by the United States Marshal.

       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                           RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                    to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL


                                                                              By _ _ _ _~~~~~-__------------------
                                                                                          DEPUTY UNITED STATES MARSHAL
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  AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 3 - Supervised Release
                                                                   #750
                                                                                                    Judgment-Page      4              5 __
                                                                                                                               of _ _ _
  DEFENDANT: DAVID KEITH DUFFY, JR.
  CASE NUMBER: 4:02CR40053-006-JPG
                                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of :
24 months



           The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
  from the custody of the Bureau of Prisons.
  The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any: unlawful use of a controlled
  substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
  tests thereafter as determined by the court.
  o     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
  r;/ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
  r;/ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
  o The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)
  o     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgIllent imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
  with the Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
  conditions on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
  1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)        the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first
            five days of each month;
  3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation
            officer;
  4)        the defendant shall support his or her dependents and meet other family responsibilities;
  5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
            or other acceptable reasons;
  6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
            convicted ofa felony, unless granted permIssion to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
            confiscation of any contraband observed in plain view ofthe probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
            enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
            without the permission of the court; and
  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
            defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
            notifications and to confirm the defendant's compliance with such notificatlOn requirement.
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 DEFENDANT: DAVID KEITH DUFFY, JR.
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                                             SPECIAL CONDITIONS OF SUPERVISION

X The defendant shall participate as directed by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
residence and/or participation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. . The defendant shall pay for the costs associated with substance abuse counseling and/ or testing
based on a copay sliding fee scale approved by the United States probation Office. Copay shall never exceed the total
costs of counseling. The number of tests shall not exceed 52 in a one year period.

X All criminal monetary penalties, resitution and forfeitures previously imposed shall continue to remain in full force and
effect.
